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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                                4:13CR3057
      vs.
                                                   MEMORANDUM AND ORDER
SCOTT USHER and ROBIN USHER,
                    Defendants.


      Defendant Scott Usher has moved to continue the status conference currently set
for December 10, 2013. (Filing No. 24). Defendant Scott Usher needs additional time to
pursue an evaluation, investigate the case, and review discovery. Accordingly,


      IT IS ORDERED:

      1)     Defendant, Scott Usher’s unopposed oral motion to continue the status
             conference, (Filing No. 24), is granted.

      2)     As to both defendants, a telephonic status conference will be held at 9:30
             a.m. on January 10, 2014 before the undersigned magistrate. The court will
             provide call in instructions for participating in the conference.

      3)     Based upon the representations of counsel, the Court further finds that as to
             both defendants, the time between today’s date and January 10, 2014 shall
             be deemed excludable time in any computation of time under the
             requirements of the Speedy Trial Act, because despite counsel’s due
             diligence, additional time is needed to adequately prepare this case for trial
             and failing to grant additional time might result in a miscarriage of justice.
             18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7).

      December 9, 2013.

                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
